






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00366-CV






In re Donna Klein






ORIGINAL PROCEEDING FROM BURNET COUNTY






M E M O R A N D U M   O P I N I O N




	Relator Donna Klein has filed a motion for emergency relief and petition for writ of
mandamus.  We overrule the motion and deny the petition for writ of mandamus.  See Tex. R. App.
P. 52.8.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   June 30, 2006


